        Case 2:09-cv-00316 Document 43 Filed on 06/11/10 in TXSD Page 1 of 2




                                UNITED STATES DISTRICT COURT
                                 SOUTHERN DISTRICT OF TEXAS
                                   CORPUS CHRISTI DIVISION

CHERYL GREEN,                                            §
                                                         §
           Plaintiff,                                    §
VS.                                                      §    CIVIL ACTION NO. C-09-316
                                                         §
NUECES COUNTY, TEXAS, et al,                             §
                                                         §
           Defendants.                                   §

                                                    ORDER

         On this day came on to be considered the Emergency Motion for Protective Order of

Defendants Cavazos, Guzman, and Hatch. (D.E. 42.) This Motion was filed in Christina

Campos, as Representative of the Estate of Roberto Roland Garcia, and Angelita Solis Torres v.

Nueces County, Texas, et. al., 2:08-cv-288, and was “incorporated . . . by reference for all

purposes as if set forth verbatim” in the Defendant’s Advisory to the Court, filed in this action on

June 10, 2010. (D.E. 42.)

         Defendants seek a protective order precluding counsel for Plaintiff in the action presently

before the Court from deposing Defendant Cavazos about matters relevant to Campos, in which

Defendant has asserted a claim of qualified immunity. This qualified immunity claim was

denied by this Court but is currently being adjudicated on appeal, effectively preventing any

deposition of Cavazos in Campos until his appeal is decided.

         On June 7, 2010, the Court held a phone conference in this action, in which the Court

    ruled that Defendant Cavazos could not use his claim of qualified immunity in Campos to

    avoid answering deposition questions in Green.1 For the reasons stated on the record at the


1
 Cavazos has asserted qualified immunity in his answer in Green (D.E. 40 ¶ 37), but has not filed a motion to
dismiss on this basis.


1/2
      Case 2:09-cv-00316 Document 43 Filed on 06/11/10 in TXSD Page 2 of 2




Court’s June 7, 2010 phone conference, Defendant’s Motion for a Protective Order is

DENIED. (D.E. 42.)

       SIGNED and ORDERED this 11th day of June, 2010.


                                          ___________________________________
                                                   Janis Graham Jack
                                                United States District Judge




2/2
